                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:15-00037-2
                                                )      JUDGE CAMPBELL
BENJAMIN BRADLEY                                )


                                         ORDER

      Pending before the Court is Defendant Benjamin Bradley’s Motion to Suppress Evidence

Obtained Pursuant to Unlawful Wiretaps: TT3, TT7, TT8, TT9. Docket No. 232. The

Government has filed a Response In Opposition (Docket No. 256), and Defendant has filed a

Reply (Docket No. 267). For the reasons stated in the accompanying Memorandum, Defendant’s

motion is DENIED.

      IT IS SO ORDERED.




                                                ___________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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